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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

           JAVIER RIVERA-BENITO
           a/k/a VENINO VARGAS,

           v.                                 CRIMINAL ACTION FILE
                                              NO.: 4:10-CR-19-02-HLM-
                                                  WEJ

                                              CIVIL ACTION FILE NO.:
                                              4: 12-CV-0109-HLM-WEJ

           UNITED STATES OF AMERICA.

                                           ORDER

                 This case is ·before the Court on Petitioner's Motion to

           Vacate, Set Aside, or Correct Sentence, which Petitioner

           filed under 28 U.S.C.A. § 2255 ("§ 2255 Motion") [146], on

           the Final Report and Recommendation of United States

           Magistrate Judge Walter E. Johnson [169], on Judge

           Johnson's          s.upplemental            Final      Report         and



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           Recommendation [205], and on Petitioner's Objections to

           the Supplemental Final Report and Recommendation [207].

           I.   Standard of Review                   for     a     Report        and
                Recommendation

                28 U.S.C. § 636(b)(1) requires that in rev1ew1ng a

           magistrate judge's report and recommendation, the district

           court "shall make a de novo determination of those portions

           of   the    report     or    specified     proposed       findings     or

           recommendations to which objection is made." 28 U.S.C.

           § 636(b )( 1). The Court therefore must conduct a de novo

           review if a party files "a proper, specific objection" to a

           factual finding contained in the report and recommendation.

           Macort v. Prem,· Inc., 208 F. App'x 781, 784 (11th Cir.

           2006); Jeffrey S. by Ernest S. v. State Bd. of Educ., 896

           F.2d 507, 513 (11th Cir. 1990); United States v. Gaddy, 894


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           F.2d 1307, 1315 (11th Cir. 1990); Loconte v. Dugger, 847

           F.2d 745, 750 (11th Cir. 1988). If no party files a timely

           objection     to   a factual       finding    in   the    report      and

           recommendation, the Court reviews that finding for clear

           error. Macort, 208 F. App'x at 784. Legal conclusions, of

           course, are subject to de nova review even if no party

           specifically objects. United States v. Keel, 164 F. App'x

           958, 961 (11th Cir. 2006); United States v. Warren, 687

           F.2d 347, 347 (11th Cir. 1982).

           II.   Background

                 On May 20, 2010, a federal grand jury sitting in the

           Northern District .of Georgia returned an indictment against

           Petitioner and four co-defendants. (Docket Entry No. 1.)

           On March 2, 2011, Petitioner pleaded guilty to counts twelve

           and fourteen of the indictment. (Docket Entry Nos. 96-97.)

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            On May 12, 2011, Senior United States District Judge

            Robert L. Vining, Jr. sentenced Petitioner to 121 months of

            imprisonment on count twelve, to be followed by five years

            of supervised release, and to 121 months of imprisonment

            on count fourteen, to be follovved by three years of

            supervised release and to run ··concurrently with the

            sentence imposed on count twelve. (Docket Entry Nos.

            118, 121.)

                  On May 10, 2012, Petitioner, through counsel, filed a§

            2255 Motion. (Docket Entry No. 146.) Petitioner asserted

            the following grounds for relief: ( 1) he was incompetent to

            enter a guilty plea on grounds of mental retardation (id. at

            4 ); (2) his counsel provided ineffective assistance by failing

            to investigate Petitioner's mental retardation or litigate the

            surrounding issues (id. at 5); (3) his guilty plea was not

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           knowingly and voluntarily entered (id. at 7); and (4) the

           Court failed to inquire about Petitioner's competency before

           allowing Petitioner to enter a guilty plea (id. at 8).

                 On September 11, 2013, Judge Johnson issued his

           Final Report and Recommendation.                  (Docket Entry No.

           169.) Judge Johnson recommended that the Court deny

           Petitioner's § 2255 Motion. (kl)

                 On October 17, 2013, Judge Vining entered an Order

           holding in abeyance the Final Report and Recommendation

           and directing Judge Johnson to hold an evidentiary hearing

           and     submit      a    Supplemental          Final     Report       and

           Recommendation. (Order of Oct. 17, 2013 (Docket Entry

           No. 175.)       Judge Vining later retired, and the Clerk

           reassigned the case to the undersigned.                        (Second

           Unnumbered Docket Entry Dated Aug. 29, 2014.)

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                 On September 10, 2014, Judge Johnson held an

           evidentiary hearing. (Docket Entry No. 190.) On October

           23, 2014, Judge Johnson held a continued evidentiary

           hearing. (Docket Entry No. 192.)

                 On    May 7,       2015,     Judge Johnson           issued     his

           Supplemental Final Report and Recommendation. (Docket

           Entry No. 205.) Judge Johnson recommended that the

           Court deny Petitioner's § 2255 Motion.

                 Petitioner has filed Objections to the Supplemental

           Final Report and Recommendation.                  (Docket Entry No.

           207.) The time period in which the Government could file a

           response to those Objections has expired, and the Court

           finds that the matter is ripe for resolution.




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           Ill. Discussion·

                 Judge Johnson correctly set forth the standard of

           review associated with a § 2255 Motion.                   (Suppl. Final

           Report & Recommendation (Docket Entry No. 205) at 2.)

           The Court incorporates that portion of the Supplemental

           Final Report and. Recommendation into this Order as if set

           forth fully herein.

                 At the outset, the Court rejects Petitioner's contention

           in his Objections that Judge Johnson failed to follow the

           instructions in Judge Vining's remand Order. (Objections

           (Docket Entry No. 207) at 3-4.) The remand Order simply

           directed Judge Johnson "to conduct an evidentiary hearing

           and then submit a supplemental report based upon the

           results of that hearing." (Order of Oct. 17, 2013 (Docket

           Entry 175)) at 4.) Judge Johnson held two lengthy

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           evidentiary hearings to address the § 2255 Motion (Docket

           Entry Nos. 190, 192), and then issued his Supplemental

           Final Report and Recommendation. Judge Johnson thus

           complied with Judge Vining's remand Order.                      Perhaps

           Judge      Johnson's       Supplemental         Final     Report      and

           Recommendation could have summarized the testimony

           given at those hearings; however, the Court's own review of

           that testimony demonstrates that the testimony supports

           Judge Johnson's conclusions in his Supplemental Final

           Report and Recommendation.                    The Court therefore

           overrules this portion of Petitioner's Objections. (Objections

           at 3-4.)

                 A.    Ground Two: Ineffective Assistance of Counsel

                 Judge Johnson correctly noted that Petitioner's post-

           evidentiary hearing briefs did not address the second

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           ground for relief set forth in Petitioner's § 2255 Motion--that

           his "[c]ounsel was ineffective for failing to investigate

           [Petitioner's] mental retardation and for failing to litigate

           issues surrounding [Petitioner's] retardation." (Suppl. Final

           Report & Recommendation at 3.)                      Judge Johnson

           recommended that the Court deny relief to Petitioner on this

           grounds for the reasons set forth in the Final Report and

           Recommendation.             (kl)        In the Final Report and

           Recommendation, Judge Johnson correctly set forth the

           standard governing an ineffective assistance of counsel

           claim. (Final Report & Recommendation (Docket Entry No.

           169) at 15-16.) Judge Johnson then correctly concluded

           that even if Petitioner's "counsel's investigation of the case

           was deficient, [Petitioner] has not shown prejudice," noting

           that Petitioner "does not assert that he would have insisted

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            on going to trial if he had known that counsel was unaware

            of the mental retardation prior to the guilty plea." (kl at 17.)

            Petitioner does not explicitly address this claim in his latest-

            filed Objections (see generally Objections (Docket Entry No.

            205)), but objected to the proposed denial of relief on this

            claim in his earlier-filed Objections (Objections (Docket

            Entry No. 171) at 20-25). The Court agrees with Judge

            Johnson's assessment of this claim, adopts the portions of

            the    Final     Report     and     Recommendation            and     the

            Supplemental Final Report and Recommendation relating

            to    this   claim, · overrules          Petitioner's   corresponding

            Objections, and denies this portion of Petitioner's § 2255

            Motion.




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                 B.   Ground One: Alleged Incompetency to Enter
                      Guilty Plea

                 In ground one of his§ 2255 Motion, Petitioner argues

           that he was incompetent to enter a guilty plea because of

           his mental retardation.          (§ 2255 Motion at 4.)            Judge

           Johnson correctly determined that this claim "is a

           substantive competency claim."              (Suppl. Final Report &

           Recommendation at 4.)               The United States Court of

           Appeals for the Eleventh Circuit has observed:

                 Incompetency means suffering form a mental
                 disease or defect rendering [defendant] mentally
                 incompeten~ to the extent that he is unable to
                 understand the nature and consequences of the
                 proceedings against him or to assist properly in his
                 defense. [A] petitioner raising a substantive claim
                 of incompetency is entitled to no presumption of
                 incompetency and must demonstrate his or her
                 incompetency by a preponderance of the
                 evidence.



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           Battle v. United States, 419 F.3d 1292, 1298 (11th Cir.

           2005) (percuriam)(alterations in original) (internal quotation

            marks and citations omitted).

                 In support of his contention that he was incompetent

            when he pleaded guilty, Petitioner relies on evaluations and

            testimony from Dr. Jorge A. Herrera and Dr. Adriana L.

            Flores, as well as nine occasions during the plea colloquy·

            in which Petitioner asked Judge Vining for clarification or

            stated that he did not understand Judge Vining's question

            or had forgotten something. (Pet'r's Post-Hr'g Br. (Docket

            Entry No. 198) at 2-21.) The Court agrees with Judge

            Johnson's · conclusions that "Dr.              Herrera found that

            [Petitioner] could. assist his attorney in his defense" (Suppl.

            Final Report & Recommendation at 4 ), while "Dr. Flores

            found that [Petitioner] could understand plea bargaining and

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           the trial process" (id. at 4-5.) Further, as Judge Johnson

           noted:

                 During the plea colloquy, [Petitioner] answered the
                 Court's questions without the need for clarification
                 or further explanation thirty-six times, which was
                 four times as often as he requested clarification or
                 further explanation. When [Petitioner] received
                 clarification or further explanation from the Court,
                 he answered the question, indicating that he
                 understood.

           (kl at 5 (citations omitted).) Judge Johnson also properly

           concluded that Dr. Scott A. Duncan's evaluation supported

           Petitioner's competency to plead guilty in this case. (kl at

           5-8 (summarizing Dr. Duncan's evaluation and findings).)

           The Court agrees with Judge Johnson that "[a]lthough

           [Petitioner] critici~es some aspects of Dr. Duncan's testing,

           [Petitioner] argues that the results are mostly consistent

           with Dr. Herrera's testing in 2007."              (kl at 8.)      Judge


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            Johnson also correctly noted that Petitioner failed "to

            address the statements that he made to Dr. Duncan

            regarding [Petitioner's] life activities and knowledge of the

            criminal justice system," which were inconsistent with

            Petitioner's incompetency claim. (kl) Finally, the Court

            agrees with Judge Johnson that, although Dr. Flores's

            testimony and evaluation may raise "some doubt" about

            Petitioner's competency, Petitioner "must demonstrate his

            incompetency by a preponderance of the evidence." (kl at

            8-9.) The Court ·cannot find that Judge Johnson erred by

            concluding that Petitioner failed to meet that burden. (kl at

            9.)   Further, to the extent that Petitioner argues in his

            Objections that Judge Johnson failed to make a finding that

            Dr. Duncan's opinion was correct (Objections at 4), the

            Court notes that the Supplemental Final Report and

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            Recommendation, at least implicitly, made that conclusion.

           To the extent that Petitioner claims that this conclusion was

            incorrect, or that Dr. Duncan's malingering theory is not

            reasonable or supported by the evidence, the Court rejects

            that conclusion.       (Objections at 4-13.)         The Court also

            rejects Petitioner's contentions that he was incompetent to

            enter his plea. (kl at 13-28.)

                 In sum, the Court agrees with Judge Johnson that

            Petitioner failed to show by a preponderance of the

            evidence that he was incompetent to enter his guilty plea as

            a result of mental retardation. Petitioner thus cannot obtain

            relief based on ground one of his § 2255 Motion. The Court

            therefore adopts this portion of the Supplemental Final

            Report and Recommendation, and the corresponding

            portion of the Final Report and Recommendation, overrules

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            Petitioner's corresponding Objections, and denies this

            portion of Petitioner's§ 2255 Motion.

                 C.    Grounds Three and Four

                 In ground three of his§ 2255 Motion, Petitioner argues

            that his "guilty plea was not knowingly, intelligently, and

            voluntarily entered." (§ 2255 Mot. at 7.) In ground four,

            Petitioner contends that the Court erred by failing "to inquire

            about [Petitioner's] competency prior to accepting the guilty

            plea." (kl at 8.) The Court agrees with Judge Johnson

           that, although these claims initially appeared to be

            procedurally defaulted, the Government waived procedural

            default by failing to raise the issue. (Suppl. Final Report &

            Recommendation at 9.)

                 The Court, however, agrees with Judge Johnson that

           ground three fails on its merits. As Judge Johnson noted,

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           Petitioner's "repeated affirmations of understanding, made

           under oath during the plea colloquy, are presumed true, and

            he bears a heavy burden to show that those statements

            were     actually     false."        (Suppl.      Final     Report    &

            Recommendation at 10 (internal quotation marks and

            citation omitted).) The Court agrees with Judge Johnson

            that Petitioner "has not met his heavy burden for the same

            reasons that his substantive competency claim (ground

            one) fails." (kl) ·with all due respect to Petitioner, nothing

            in Petitioner's Objections warrants rejecting this conclusion.

            (kl at 28-32.)        Specifically, the Court cannot find, as

            Petitioner argues, that Judge Johnson "improperly applied

            a presumption of truthfulness to the plea colloquy that is not

            supported in the .context of this claim." (kl at 31-32.) The

            Court further declines to find, as Petitioner urges, that

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           "substantial evidence" exists to demonstrate that his plea

           was not knowing and voluntary. (kl at 32.)

                  Ground four likewise fails. As Judge Johnson noted,

           Petitioner's "claim that the District Court should have

           conducted       a    competency          hearing    is     a   procedural

           competency          claim."         (Suppl.        Final       Report   &

           Recommendation at 10.) To obtain relief on that claim,

           Petitioner must show that the Court "had information raising

           a bona fide doubt as to [Petitioner's] competency." (kl

           (internal quotation marks and citation omitted).) If Petitioner

           makes that sh~wing, then the burden shifts to the

           Government to prove that Petitioner is competent. (kl at

           11.)




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                 The Court agrees with Judge Johnson that Petitioner is

           not entitled to relief on this claim. (Suppl. Final Report &

           Recommendation at 11-12.) As Judge Johnson noted:

                       [Petitioner] relies on the nine instances during
                 the plea colloquy in which he asked the District
                 Court for clarification or stated that he did not
                 understand the Court's question or had forgotten
                 something, even though counsel had spent six
                 hours in the week before the guilty plea explaining
                 the case and concepts to [Petitioner]. However,
                 as the undersigned previously explained,
                 [Petitioner] answered the Court's questions without
                 the need for clarification or further explanation
                 thirty-six times, which was four times as often as
                 he requested clarification or further explanation.
                 When movant received clarification or further
                 explanation from the Court, he answered the
                 question, indicating that he understood.

           (kl at 11 (internal quotation marks and citations omitted).)

           Further, although the presentence investigation report cited

           Dr. Herrera's finding that Petitioner was mentally retarded,

           Judge Johnson correctly noted that mental retardation,

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           standing alone, "does not make a person incompetent to

           [plead guilty]." (lit (alteration in original) (internal quotation

           marks and citation omitted).) To the extent that Petitioner

           argues otherwise in his Objections, the Court rejects that

           contention.      (Objections at 34 n.5.)          Further, the Court

           agrees with Judge Johnson's conclusion that "[d]espite

           [Petitioner's] mental retardation, Dr. Herrera found that

           [Petitioner] had ~ basic understanding of the trial process

           and could assist his attorney as long as he received

           repeated explanations and sufficient time." (Suppl. Final

           Report & Recommendation at 11-12.)                          Nothing in

           Petitioner's Objections warrants rejecting that finding.

           Likewise, as Petitioner acknowledges "Dr. Herrera's role

           was not to assess competency, but rather [Petitioner's] level

           of functioning for mitigation purposes."              (Final Report &

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           Recommendation at 12 (internal quotation marks and

           citation omitted).)       Judge Johnson properly found that

           Petitioner "has not established a bona fide doubt as to his

           competency in the information available to the District Court

           during [Petitioner's] criminal case." (kl (internal quotation

           marks omitted).) Again, nothing in Petitioner's Objections

           warrants a different result. (Objections at 32-35.) Under

           those circumstances, Petitioner cannot obtain relief based

           on ground four.

                 In sum, the Court agrees with Judge Johnson that

           Petitioner cannot obtain relief based on grounds three and

           four of his§ 2255 Motion. The Court therefore adopts this

           portion of the Supplemental Report and Recommendation,

           overrules Petitioner's corresponding Objections, and denies

           Petitioner's § 2255 Motion as to grounds three and four.

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                 D.    Certificate of Appealability

                 The Court, h.owever, finds that it is appropriate to issue

           a certificate of appealability in this case. Although the Court

           has adopted in part the Final Report and Recommendation

           and has adopted the Supplemental Final Report and

            Recommendation, the Court cannot conclude, as a matter

           of law, that the resolution of the issues presented in

            Petitioner's § 2255 Motion is not debatable. The Court

           further finds that Petitioner has made a substantial showing

           of the denial of a constitutional right. The Court therefore

           finds that it is appropriate to issue a certificate of

           appealability as to the following issues: ( 1) whether

            Petitioner's trial counsel provided ineffective assistance by

           failing to investigate Petitioner's alleged mental retardation

           and by failing tc;> litigate issues surrounding Petitioner's

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           alleged mental retardation (Ground Two); (2) whether

           Petitioner was incompetent to enter a guilty plea based on

           his alleged mental retardation (Ground One); (3) whether

           Petitioner's guilty plea was knowingly, intelligently, and

           voluntarily entered (Ground Three); and (4) whether the

           district court violated Petitioner's procedural due process

           rights by failing to.inquire about Petitioner's competency and

           to hold a competency hearing, allegedly in violation of Pate

           v. Robinson, 383 U.S. 375 (1966) (Ground Four).

           IV. Conclusion·

                 ACCORDINGLY, the Court ADOPTS IN PART the

           Final Report and Recommendation of United States

           Magistrate Judge Walter E. Johnson [169], ADOPTS IN

           PART Judge Johnson's Supplemental Final Report and

           Recommendation [205], and DENIES Petitioner's § 2255

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            Motion [146]. The Court does not adopt the portions of the

            Final Report and Recommendation concluding that Grounds

           Three      and     Four    were     procedurally       defaulted       and

            recommending that the Court decline to issue a certificate

            of appealability (Final Report & Recommendation at 5-6, 17-

            19), and does not adopt the portion of the Supplemental

            Final Report and Recommendation recommending that the

            Court decline to issue a certificate of appealability (Suppl.

            Final Report & Recommendation at 12-13.)

                 The Court ISSUES a certificate of appealability as to

           the following issues: ( 1) whether Petitioner's trial counsel

            provided ineffective assistance by failing to investigate

            Petitioner's alleged mental retardation and by failing to

            litigate issues surrounding Petitioner's alleged mental

            retardation (Gro.und Two); (2) whether Petitioner was

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           incompetent to enter a guilty plea based on his alleged

           mental retardation (Ground One); (3) whether Petitioner's

           guilty plea was knowingly, intelligently, and voluntarily

           entered (Ground Three); and (4) whether the district court

           violated Petitioner's procedural due process rights by failing

           to inquire about Petitioner's competency and to hold a

           competency he~ring, allegedly in violation of Pate v.

            Robinson, 383 U.S. 375 (1966) (Ground Four).

                 Finally, the Court DIRECTS the Clerk to CLOSE the

           civil case associated with the § 2255 Motion: Civil Action

           File No. 4: 12-CV-0109-HLM-WEJ.

                 IT IS SO ORDERED, this the _j_Jday of June, 2015.




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